Case 0:19-cr-60083-JEM Document 31 Entered on FLSD Docket 07/29/2019 Page 1 of 7



                           UNITED STATES DISTRICT COURT
                           SO UTH ERN D ISTR ICT O F FL O R ID A

                               CASE NO.19-CR-60083-JEM (s)
 U NIT ED STA TES O F A M ER ICA

 V S.

 JA M ESO N JEA N ,

             Defendant.
                                             /

                                     PLEA AGREEM ENT

        TheUnitedStatesAttorney'sOo cefortheSouthem DistrictofFloridatû%MsOt-
                                                                            fke''land
 JAM ESON JEAN Co efendanf')enterintothefollowingagreement:
               Defendant agrees to plead guilty to Counts            and 3 of the Superseding

 lnformation,which charge Defendantwith Distribution ofaControlled Substance,in violation of

 Title21,UnitedStatesCode,Section 841(a)(1).
        2.     Defendantisawarethatthesentencewillbeim posed bytheCourtafterconsidering

 theadvisoryFederalSentencingGuidelinesandPolicy Statements(theçfsentencingGuidelines'').
 Defendantacknowledgesand tmderstandsthattheCourtwillcomputean advisory sentenceunder

 the Sentencing Guidelines and thatthe applicable guidelines willbe determined by the Court

 relying in parton the resultsofa pre-sentence investigation by the Court'sprobation office,which

 investigation willcom m ence afterthe guilty plea hmsbeen entered. D efendantis also aw are that,

 tmdercertain circllm stances,the Courtmay departfrom theadvisory Sentencing Guidelinesrange

 that it has com puted, and may raise or lower that advisory sentence under the Sentencing

 Guidelines. DefendantisfurtherawareandtmderstandsthattheCourtisrequired to considerthe

 advisory guideline rangedetennined underthe Sentencing Guidelines,butisnotboundto impose



                                                          > >x, a / / / > =
Case 0:19-cr-60083-JEM Document 31 Entered on FLSD Docket 07/29/2019 Page 2 of 7




 asentencewithin thatadvisory range;the Courtisperm ittedto tailortheultim atesentencein light

 ofotherstatutory concerns,and such sentence may be eithermore severe orlesssevere than the

 Sentencing Guidelines advisory range. Knowing these facts, Defendant understands and

 acknowledges that the Courthas the authority to impose any sentence within and up to the

 statutorymaxim um authorizedby 1aw fortheoffenseidentified in paragraph 1and thatDefendant

 may notwithdraw theplea solely asaresultofthe sentenceim posed.

               Defendantalso tmderstandsand acknowledgesthat,asto Count1,the Courtmust

 im pose a m inim um term ofim prisonm entof20 years,and m ay im pose a m axim llm term ofup to

 life im prisonm ent,followed by a term ofsupervised release ofatlemst3 years and up to life. ln

 addition to aterm ofimprisonm entand supervised release,the Courtmay im posea fne ofup to

 $1,000,000 and may orderrestitm ion.
               Defendantalso tmderstands and acknowledges that,asto Counts 2-3,the Court

 may impose aterm ofim prisonm entofupto 20 years,followed by aterm ofsupervised releaseof

 atleast3 yearsand up to life. In addition to a term ofimprisonmentand supervised relemse,the

 Courtmay imposea fineofup to $1,000,000 andm ay orderrestitution.
               Defendantfurtherunderstandsand acknowledgesthat,in addition to any sentence

 imposed undexparagraphs3 and 4 ofthisagreem ent,a specialassessm entin the amountof$100
 foreach Cotmt,fora toolof$300,willbe imposed on Defendant. Defendantagreesthatany
 specialassessmentimposed shallbe paid atthe tim e ofsentencing. IfDefendantisfinancially

 unable to pay the specialmssessm ent,D efendantagrees to presentevidence to thisO ffice and the

 Courtatthetime ofsentencing astothereasonsforDefendant'sfailuretopay.
Case 0:19-cr-60083-JEM Document 31 Entered on FLSD Docket 07/29/2019 Page 3 of 7




               ThisOffice reservesthe rightto inform the Courtand the probation office ofall

 facts pertinent to the sentencing process, including a11 relevant inform ation concerning the

 offenses comm itted,whetherchrged ornot,as wellas concerning Defendantand Defendant's

 background.Subjectonly to theexpresstermsofanyagreed-upon sentencing recommendations
 contained in thisagreement,thisOflk efurtherreservesthe rightto makeany recomm endation as

 to thequality and quantity ofpunishment.

               ThisOffice al eesthatitwillrecomm end atsentencing thatthe Courtreduce by

 two levelsthe Sentencing Guidelineslevelapplicableto Defendant'soffense,pursllantto Section

 3E1.1(a)ofthe Sentencing Guidelines,based upon Defendant'srecognition and affirmativeand
 timely acceptance ofpersonalresponsibility. Ifatthe tim e ofsentencing Defendant's offense

 levelisdetermined to be 16 orgreater,thisOfficewillfile am otion requesting an additionalone

 leveldecreasepursuanttoSection 3E1.1(b)ofthe SentencingGuidelines,stating thatDefendant
 has assisted authorities in the investigation orprosecution ofDefendant's own m isconductby

 timely notifying authoritiesofDefendant'sintention to entera pleaofguilty,thereby permitting

 the government to avoid preparing for trial and perm itting the government and the Courtto

 allocate their resources efficiently. This Office,however,willnot be required to make this

 motion andtheserecommendationsifDefendant:(a)failsorrefusestomakeafull,accurateand
 completedisclostlreto theprobation office ofthecircum stancessurrotmding therelevantoffense

 conduct;(b)isfoundtohavemisrepresentedfactstothegovernmentpriortoenteringintothisplea
 agreement'
          ,or(c)commitsanymisconductafterenteringinto thispleaapeement,includingbut
 notlim ited to com m itting a state or federaloffense,violating any term ofrelease,orm aking false

 sotem ents orm isrepresentationsto any governm entalentity or official.
Case 0:19-cr-60083-JEM Document 31 Entered on FLSD Docket 07/29/2019 Page 4 of 7




       8.      The defendantagreesthathe/she shallcooperatefully with thisOffice by:(a)
 providing truthfuland com plete inform ation and testimony,and producing docum ents,records

 andotherevidence,whencalleduponbythisOftke,whetherininterviews,beforeagrandjury,or
 atanytrialorotherCourtproceeding;(b)appearing atsuch grandjury proceedings,hearings,
 trials,andotherjudicialproceedings,andatmeetings,asmayberequired bythisOffiçe;and(c)
 if requested by this Oftk e,working in an tmdercover role under the supervision of,and in

 compliance with,law enforcem entofficersand agents. ln addition,thedefendantagreesthathe

 willnotprotectanyperson orentitythrough false inform ationorom ission,thathewillnotfalsely

 implicateany person orentity,and thathethathewillnotcomm itany furthercrim es.

        9.     This Office reserves the rightto evaluate the nature and extentofthe defendant's

 cooperation and to make thatcooperation,or lack thereof,known to the Courtatthe tim e of

 sentencing. lfinthesoleandunreviewablejudgmentofthisOfficethedefendant'scooperationis
 ofsuch quality and significanceto the investigation orprosecution ofothercrim inalmattersasto

 warranttheCourt'sdownward departure from the advisory sentencing rangecalculated tmderthe

 SentencingGuidelinesand/oranyapplicablem inim lzm mandatorysentence,thisOftk emay make

 amotion priorto sentencing ptlrsuantto Section 5K1.1ofthe Sentencing Guidelinesand/orTitle

 18,United StatesCode,Section 3553(e),orsubsequentto sentencingpursllnntto Rule35 ofthe
 Federal Rules of Crim inal Procedure,inform ing the Court that the defendant has provided

 substantial assistance and recommending that the defendant's sentence be reduced. The

 defendantunderstandsand agrees,however,thatnothing in tM sap eem entrequiresthisOftk eto

 file any such m otions,and thatthis Office's mssessment ofthe quality and significance ofthe



                                              4
Case 0:19-cr-60083-JEM Document 31 Entered on FLSD Docket 07/29/2019 Page 5 of 7




 defendant'scooperation shallbebinding asitrelatesto the appropriatenessofthisOftk e'sfiling

 ornon-filingofa motion to reducesentence.

        10.    'I'hedefendanttmderstandsand acknowledgesthattheCourtisunderno obligation

 to grantam otion forreduction ofsentencefiled by thisOffice. ln addition,thedefendantfurther

 understands and acknowledgesthatthe Courtis underno obligation ofany type to reduce the

 defendant'ssentence becauseofthe defendant'scooperation.

        11.    Defendantis aware thatthe sentence has notyetbeen determined by the Court.

 Defendant also is aware thatany estimate ofthe probable sentencing range or sentence that

 Defendantmayreceive,whetherthatestimatecom esfrom Defendant'sattorney,thisOffke,orthe

 probation office,isa prediction,nota prom ise,and isnotbinding on this Oftk e,the probation

 oftice or the Court. Defendant understands further that any recomm endation thatthis Offk e

 m akes to the Court as to sentencing,w hether pursuant to this agreem ent or otherw ise, is not

 binding on the Courtand the Courtm ay disregard the recom mendation in itsentirety.Defendant

 understandsand acknowledges,aspreviouslyacknowledged in paragraph 3 above,thatDefendant

 m ay not withdraw his plea based upon the Court's decision not to accept a sentencing

 recommendationmadebyDefendant,thisOffice,orarecommendationmadejointlybyDefendant
 and thisOffice.

        12.    The defendantis aware thatTitle 28,United StatesCode,Section 1291and Title

 18,United StatesCode,Section 3742 affordthedefendanttherighttoappealthesentence im posed

 in this case. A cknowledging this,in exchange forthe undertakings m ade by the U nited States in

 thispleaagreement,thedefendanthereby waivesa1lrightscolzferred by Sections1291and3742to

 appealany sentence im posed,including any restitution order,orto appealthe m annerin w hich the

                                                5
Case 0:19-cr-60083-JEM Document 31 Entered on FLSD Docket 07/29/2019 Page 6 of 7




 sentence was im posed,tmlessthe sentence exceeds the m u im um permitted by statute oristhe

 resultofanupward departureand/oran upwardvariancefrom theadvisoryguidelinerangethatthe

 Courtestablishes atsentencing. The defendantfurtherunderstnndsthatnothing in thisagreem ent

 shallaffectthe government's rightand/or duty to appealas setforth in Title 18,United States

 Code,Section 3742419 and Title28,United StatesCode,Section 1291. However,iftheUnited
 Statesappealsthedefendant'ssentencepursuanttoSections3742(19and 1291,thedefendantshall
 be released from theabove waiverofhisrightto appealhissentence.

        13.    Thedefendantfurtherhereby waivesa11rightsconferredby Title 28,United States

 Code,Section 1291toassertany claim that(1)thestatutets)to which thedefendantispleading
 guiltyis/areunconstitutional;and/or(2)theadmittedconductdoesnotfallwithinthescopeofthe
 statutets)ofconviction.
        14.    By signing this agreem ent,the defendant acknowledges thatthe defendanthas

 discussed the appeal waiver set forth in this agreement with the defendant's attorney. The

 defendantfurtheragrees,togetherwith thisOffice,torequestthattheCourtenteraspecificfinding

 thatthe defendant'sw aiverofhisrightto appealthe sentence im posed in thiscase and his rightto

 appealhisconviction in them nnnerdescribed abovewasknowing and voluntary.




                                               6
Case 0:19-cr-60083-JEM Document 31 Entered on FLSD Docket 07/29/2019 Page 7 of 7




               Thisistheentireagreem entand understanding between thisOffice and Defendant.

 There areno otherap eements,promises,representations,orunderstandings.


                                          A RIA N A FA JAR D O O RSHA N
                                          U N ITED STA TES A TTORN EY


 Date: -7/2,(/T
           #
                                   By:
                                          RO R           N
                                          A SIS      T   ITED STA TES A TTORN EY


 Date: 7-.zq-I)                    By:
                                          JA     STEW A RT LEW IS,Jr.
                                          A T O RN EY FOR D EFEN D AN T


 Date: W cz,w                      By:
                                          J M ESON JEA N
                                           EFEN D A N T
